     Case 2:20-cr-00148-JTM-DMD Document 46 Filed 03/31/22 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                      *       CRIMINAL NO. 20-148

VERSUS                                        *       SECTION: “H”

MARIO DELUCA                                  *

                                       *      *       *

         JOINT MOTION TO DEPOSIT RESTITUTION PAYMENTS MADE
       IN ADVANCE OF SENTENCING IN THE REGISTRY OF THE COURT

        NOW INTO COURT, through undersigned counsel comes the Defendant, MARIO

DELUCA (“Deluca”), and the United States of America, who jointly move the Court for an

order directing the Clerk of Court – Financial Unit to establish an account to receive and hold

(in the Registry of the Court) restitution payments made in advance of sentencing.

       Background

       On, February 24, 2021, Deluca pleaded guilty to one count of Conspiracy to Commit

Health Care Fraud in violation of Title 18, U.S.C. §§ 1347 and 1349. Rec. Docs. 20, 21 (Plea

Agreement and Factual Basis). As part of his plea agreement, Mr. Deluca agreed to pay

$200,000 in restitution to the United States. Id.

       Request

       In an effort to fulfill his obligations under the plea agreement, Mr. Deluca wishes to make

restitution payments to the United States in advance of sentencing. Therefore, the parties jointly

move the Court for an order to establish an account to hold Mr. Deluca’s restitution payments

made in advance of sentencing in the registry of the Court. The parties also request that, upon

entry of the Judgement of Conviction, this Honorable Court orders the funds deposited in

advance of sentencing be released and applied towards the total restitution amount imposed
      Case 2:20-cr-00148-JTM-DMD Document 46 Filed 03/31/22 Page 2 of 2




 in the case at sentencing.

        WHEREFORE, the parties jointly and respectfully request the Court to grant the

 motion and direct the Clerk of Court to establish an account to hold restitution payments made

 in advance of sentencing in the registry of the Court, pending further orders of the Court.


                                                     Respectfully,

                                                     DUANE A. EVANS
                                                     UNITED STATES ATTORNEY

                                                     s/Kathryn M. McHugh
                                                     KATHRYN M. MCHUGH
                                                     Assistant United States Attorney
                                                     U.S. Attorney’s Office (E.D. La.)
                                                     650 Poydras Street, Suite 1600
                                                     New Orleans, LA 70130
                                                     Telephone: (504) 680-3043
                                                     kathryn.mchugh@usdoj.gov


s/Walter Becker
WALTER BECKER
Chaffe McCall
1100 Poydras Street, Suite 2300
New Orleans, LA 70163
Telephone: 504-585-7046
becker@chaffe.com
Counsel for Mario Deluca



                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 31st day of March, 2022, I electronically field the foregoing
 with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic
 filingto all counsel of record.

                                                     s/Kathryn M. McHugh
                                                     KATHRYN M. MCHUGH




                                                 2
